                       Affidavit in Support of an Application
                             for a Criminal Complaint

I, Robert Toler, being duly sworn under oath, do hereby depose and state:

      1.     I am a Special Agent with the United States Department of the Interior,

National Park Service, Investigative Services Branch, presently assigned to the

Atlantic Field Office in the Blue Ridge Parkway (BLRI). I have been employed as a

federal law enforcement officer since 2012. During my tenure as a Law Enforcement

Officer and Special Agent, I have completed approximately 1000 hours of instruction

at the Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia. I

graduated from both the Land Management Police Training Program and the

Department of the Interior Criminal Investigator Training Program. While at

FLETC, I completed blocks of instruction and labs that enabled me to identify

potential sources of electronic evidence, including but not limited to GPS, cell

phones and user email accounts and social media. During all training programs, I

studied various aspects of investigating and enforcing federal criminal laws.

Throughout my career, I have investigated hundreds of criminal violations involving

federal and state laws. I have been the lead case agent or assisted on investigations

involving property crimes, violent and sexual assault crimes, and homicides. During

this period of service, I have received formal training and investigative experience in

general criminal statute enforcement, sexual assaults, death investigation, and traffic

crash investigation.




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      2.     As part of my duties as a Special Agent, I investigate criminal violations

of state and federal law, including kidnapping in violation of 18 U.S.C. § 1201,

assault in violation of 18 U.S.C. § 113, and firearms offenses such as violations of 18

U.S.C. § 924. I have received formal training and investigative experience in general

criminal statute enforcement, sexual assaults, death investigation, and traffic crash

investigation.

      3.     The facts and statements in this affidavit are based in part on

information provided by other law enforcement officers and on my personal

observations and training and experience as a Special Agent. This affidavit is

intended to show merely that there is sufficient probable cause for the requested

warrant and does not set forth all of my knowledge about this matter.

      4.     Based on my training and experience, and the facts as set forth in this

affidavit, it is my belief that on September 28, 2023, within the special maritime and

territorial jurisdiction of the United States and within the Western District of North

Carolina, EVAN WILLIAM BLANKENSHIP violated 18 U.S.C. § 1201(a)(2), (d)

(attempted kidnapping), 18 U.S.C. § 113(a)(2) (assault with intent to commit a

felony), 18 U.S.C. § 113(a)(3) (assault with a dangerous weapon intent to do bodily

harm), and 18 U.S.C. § 924(c)(1)(A)(iii) (discharge of a firearm during and in relation

to a crime of violence).

      5.     At approximately 3:15 a.m. on September 28, 2023, L.P. and L.M.

were together at Water Rock Knob Overlook off the Blue Ridge Parkway, which is a

place within the special maritime and territorial jurisdiction of the United States, and


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within the Western District of North Carolina. They were alone there, parked in

L.M.’s mother’s car— L.M. in the driver’s seat, and L.P. in the passenger seat.

Suddenly, a white Chevrolet Camaro sped into the parking area. The driver

accelerated around the parking lot once before heading toward L.M.’s car and

abruptly stopping.

       6.        EVAN WILLIAM BLANKENSHIP got out of the Camaro, opened

the passenger side door of L.M.’s car (where L.P. was sitting), and pointed a semi-

automatic pistol at the couple. L.P. was scared that BLANKENSHIP would kill her.

BLANKENSHIP then tried pulling L.P. out of the car by her hair and right arm.

BLANKENSHIP repeatedly told her to get into his vehicle and that “she is coming

with me.” He threatened to hurt both L.P. and L.M. if she did not comply. She

asked if he was taking her so that he could rape her. BLANKENSHIP nodded his

head “yes.”

       7.        BLANKENSHIP hit L.P. in the face causing temporary hearing loss in

her left ear and bruising to her face. L.P. watched as BLANKENSHIP fired his gun

at least once, possibly twice, into the air, before pointing it back at her and L.M..

       8.        The duration of the incident varied between L.P. and L.M.’s

recollection, but they both indicated that L.M. was eventually able to convince

BLANKENSHIP to let them go after repeatedly promising not to report the incident

to the police.

       9.        L.M. drove them down the mountain as BLANKENSHIP followed

close on their bumper. Despite the early morning hour, the pair eventually found law


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enforcement. BLANKENSHIP followed them until Highway 74 and sped around

them to leave.

      10.    L.P. spoke with investigators and described knowing BLANKENSHIP

from previously “hanging out” on one occasion when they drove around for a few

hours. BLANKENSHIP reportedly added L.P. on the Snapchat application about a

year prior, and they had not known one another independent of Snapchat prior to

their one contact. I know that Snapchat is a mobile application for cellular

telephones which allows users to share photos, videos, text, location, and other data

with friends on the application.

      11.    L.P. believed BLANKENSHIP was able to locate her the morning of

the incident by using Snapchat’s live location sharing feature, whereby her real-time

location was visible to her friends on the application. Having met BLANKENSHIP

only one time in person, L.P. said she was “9 out of 10” that it was BLANKENSHIP

who confronted them that morning. L.M. did not personally know BLANKENSHIP

but identified him as the perpetrator from a picture shown to him.

      12.    Investigators returned to the scene the next day to search for spent shell

casings. They were unable to locate any.

      13.    BLANKENSHIP was interviewed on September 29. BLANKENSHIP

initially stated he was at work during the time of this incident. When pushed about

his whereabouts, he changed course and said he started drinking to excess on the

September 27 and became intoxicated. When he woke up on the September 28, he




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noticed his car was out of gas so he knew he had to have gone somewhere.

BLANKENSHIP again claimed to have no recollection of these events.

      14.    Agents pressed him further to be remorseful and be honest.

BLANKENSHIP said he would feel more comfortable if the interview was not

recorded. Agents turned off their devices.

      15.    BLANKENSHIP then claimed he and L.P. were “friends with benefits”

and had been exchanging nude photos. He admitted he texted L.P. around 10:00

p.m. on the September 27 to hang out. She told him she was tired and wanted to be

at home. BLANKENSHIP claimed he was disappointed and began drinking heavily.

While drinking, he noticed L.P.’s Snapchat location showed her on the Blue Ridge

Parkway. This upset him, so he decided to go “scare her.”

      16.    BLANKENSHIP admitted driving a white Camaro to the area where

she was located and got out with his 9mm Glock in hand. He opened the passenger

door and demanded that L.P. get in his car. He grabbed her by the hair and

continued ordered her into his car. BLANKENSHIP said he slapped her when she

reached for her phone.

      17.    BLANKENSHIP admitted he was angry and fired one round toward

the ground. He noticed that the shell casing failed to extract from the chamber but

continued to point the gun at L.M. and L.P.. Eventually, L.M. was able to convince

him this was wrong, and BLANKENSHIP let them leave. He followed them down

the Parkway, then texted L.P. not to mention the incident to anyone. He then

changed the settings in Snapchat to immediately delete their messages.


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      18.    At the time of his interview, BLANKENSHIP had a 9mm Glock in his

Camaro. Officers asked to secure the weapon and then collect it as evidence.

BLANKENSHIP allowed them to do so.

      19.    Based on the information set forth in this affidavit, I submit there is

probable cause to believe that EVAN WILLIAM BLANKENSHIP has violated 18

U.S.C. § 1201(a)(2), (d) (attempted kidnapping), 18 U.S.C. § 113(a)(2) (assault with

intent to commit a felony), 18 U.S.C. § 113(a)(3) (assault with a dangerous weapon

intent to do bodily harm), and 18 U.S.C. § 924(c)(1)(A)(iii) (discharge of a firearm

during and in relation to a crime of violence).



                                             /s/ Robert Toler

                                          Robert Toler
                                          Special Agent
                                          National Park Service


This affidavit has been reviewed by AUSA Alex M. Scott.


      In accordance with Rule 4.1(b)(2)(A), the Affiant attested under oath to the

contents of this Affidavit, which was submitted to me by reliable electronic means,

on this 10th day of October 2023, at 3:31 PM.

                                    Signed: October 10, 2023




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